










&nbsp;Opinion issued May14, 2009&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 



















In The
Court of Appeals
For The
First District of Texas
____________

NO. 01-08-00425-CR
____________

FAVIOLA RIOS, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from County Criminal Court at Law No. 13
Harris County, Texas
Trial Court Cause No. 1498630



&nbsp;
MEMORANDUM  OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Because the reporter’s record had not been filed, we abated this appeal and
ordered a hearing in the trial court.  Among the issues the trial judge was to consider
was whether appellant desired to prosecute the appeal.  The trial court conducted the
hearing on April 17, 2009, and the supplemental record of that hearing has been filed
in this Court.  At the hearing, appellant stated that she wished to withdraw this
appeal.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;We order the appeal reinstated.  Appellant has not filed a written motion
to withdraw the appeal.  See Tex. R. App. P. 42.2(a).  However, given appellant’s
expressed desire to forego pursuit of her appeal, we conclude that good cause exists
to suspend the operation of Rule 42.2(a) in this case in accordance with Rule 2.  See
Tex. R. App. P. 2.  We have not yet issued a decision.  Accordingly, the appeal is
dismissed. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The clerk of this Court is directed to issue the mandate within 10 days.  Tex.
R. App. P. 18.1.

PER CURIAM

Panel consists of Justices Taft, Bland, and Sharp.

Do not publish.  Tex. R. App. P. 47.2(b).


